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                     EXHIBIT 1




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                          UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

        ABDIRAHMAN ADEN KARIYE,
        et al.,
                                                     PLAINTIFFS’ FIRST SET OF
            Plaintiffs,                              REQUESTS FOR PRODUCTION
                                                     OF DOCUMENTS
                v.
                                                     No. 2:22-cv-01916-FWS-GJS
        ALEJANDRO MAYORKAS,
        Secretary of the U.S. Department of
        Homeland Security, in his official
        capacity, et al.,

            Defendants.




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     PROPOUNDING PARTY:             Plaintiffs Abdirahman Aden Kariye, Mohamad
                                    Mouslli, and Hameem Shah
     RESPONDING PARTY:              Defendants Alejandro Mayorkas, Troy Miller, Tae
                                    D. Johnson, and Steve K. Francis
     SET NUMBER:                    One
           Pursuant to Federal Rules of Civil Procedure 26 and 34, and Local Rule 34-1,
     Plaintiffs Abdirahman Aden Kariye, Mohamad Mouslli, and Hameem Shah
     (“PLAINTIFFS”), by their undersigned attorneys, request that Defendants Alejandro
     Mayorkas, Secretary of the U.S. Department of Homeland Security (“DHS”), Troy
     Miller, Acting Commissioner of U.S. Customs and Border Protection (“CBP”), Tae
     D. Johnson, Acting Director of U.S. Immigration and Customs Enforcement
     (“ICE”), and Steve K. Francis, Acting Executive Associate Director, Homeland
     Security Investigations (“HSI”), in their official capacities (collectively, the
     “DEFENDANTS”), produce for inspection and copying responsive documents
     within thirty (30) days of the date of service and continuing from day to day
     thereafter, until completed, at the offices of the American Civil Liberties Union
     Foundation, 125 Broad Street, 18th floor, New York, New York, 10004, in
     accordance with the Definitions and Instructions set forth below. PLAINTIFFS
     request that each agency DEFENDANT produce separate responses to these
     Requests, with Bates labels corresponding to each producing agency.




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                                       DEFINITIONS
           Notwithstanding any definition set forth below, each word, term, or phrase
     used in this Request is intended to have the broadest meaning permitted under the
     Federal Rules of Civil Procedure. As used in this Request, the following terms are
     to be interpreted in accordance with these definitions:
           1.     “AMENDED COMPLAINT” means the Amended Complaint in the
     above-captioned case, ECF No. 61, filed November 14, 2022.
           2.     “COMMUNICATION” means any transmission of information in the
     form of facts, ideas, inquiries or otherwise from one PERSON or entity to another
     by any means—including but not limited to emails, texts, voicemail messages, social
     media posts and direct messages, online comments, and messages sent via
     messaging applications—whether sent or received by official or personal devices,
     accounts, websites, or other means.
           3.     “COMPLAINT” means the Complaint in the above-captioned case,
     ECF No. 1, filed March 24, 2022.
           4.     “CONCERN” and “CONCERNING” mean relating to, referring to,
     describing, evidencing, constituting, reflecting, memorializing, identifying,
     embodying, pertaining to, commenting on, discussing, analyzing, considering,
     containing, consisting of, indicating, supporting, refuting, or connected to.
           5.     “DOCUMENT” shall have the broadest meaning ascribed to that term
     in Federal Rule of Civil Procedure 34 and Federal Rule of Evidence 1001. The term
     also includes any parent or child attachment or other documents embedded or linked
     in any way to a requested document. A draft or non-identical copy is a separate
     document within the meaning of the term “DOCUMENT.” For the avoidance of
     doubt, DOCUMENTS shall include all COMMUNICATIONS.
           6.     “PLAINTIFFS” and “DEFENDANTS,” as well as a party’s full or
     abbreviated name or a pronoun referring to a party, mean that entity and any
     PERSON or entity under its control, including any present and former components,




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     subsidiaries, departments, offices, predecessors, successors, officers, directors,
     agents, employees, representatives, attorneys, consultants, contractors, and any
     aliases, code names, or trade or business names used by any of the foregoing.
           7.     “PERSON” is defined as any natural person or any business, legal or
     governmental entity, or association. References to any person include the person and
     any person or entity under that person’s control, including any present and former
     components, subsidiaries, departments, offices, predecessors, successors, officers,
     directors, agents, employees, representatives, attorneys, consultants, contractors,
     and any aliases, code names, or trade or business names used by any of the foregoing.
           8.     “YOU” or “YOUR” include the defendant agency, any present and
     former components, subsidiaries, departments, offices, predecessors, successors,
     officers, directors, agents, employees, representatives, attorneys, consultants,
     contractors, and any aliases, code names, or trade or business names used by any of
     the foregoing.
           9.     The present tense includes the past and future tenses. The singular
     includes the plural, and the plural includes the singular. “All” means “any and all”;
     “any” means “any and all.” “Including” means “including but not limited to.” “And”
     and “or” encompass both “and” and “or.” Words in the masculine, feminine, or
     neutral form shall include each of the other genders.


                                       INSTRUCTIONS
           1.     Responsive DOCUMENTS include those in YOUR possession,
     custody, or control.
           2.     Each DOCUMENT or tangible thing produced in response hereto shall
     be produced as it is kept in the ordinary course of business, including all file folders,
     binders, notebooks, and other devices by which such papers or things may be
     organized or separated, or it shall be organized and labeled to correspond with the
     Request(s) to which it is responsive. If the requested DOCUMENTS are maintained




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     in a file, the file folder is included in the request for production of those
     DOCUMENTS.
           3.     DOCUMENTS that are in the form of electronically stored information
     are to be produced as follows: (1) in their native format; and (2) as single-page “.tiff”
     images with extracted text, whenever such text is available, and with accompanying
     optical character recognition files where extracted text is unavailable, and with all
     reasonably available metadata fields. Upon review of the production, PLAINTIFFS
     reserve their right to request that YOU produce additional metadata for particular
     DOCUMENTS, and that certain DOCUMENTS or things be produced in another
     format. This instruction may be superseded by the agreement of the PLAINTIFFS
     and DEFENDANTS as to the appropriate format for production of electronically
     stored information.
           4.     All DOCUMENTS that are physically attached to each other shall be
     produced in that form. DOCUMENTS that are segregated or separated from other
     DOCUMENTS, whether by inclusion in binders, files, or sub-files, or by the use of
     dividers, tabs, or any other method, shall be produced in that form. DOCUMENTS
     shall be produced in the order in which they were maintained.
           5.     If any copy of any DOCUMENT is not identical to the original or any
     other copy thereof by reason of any alteration, marginalia, comment, or other
     material contained therein, thereon, or attached thereto, or otherwise, all such non-
     identical   copies    shall   be    produced       separately.   All   copies   of    all
     COMMUNICATIONS should be produced, even if they appear identical.
           6.     Pursuant to Federal Rule of Civil Procedure 34(b)(2)(B), if YOU object
     to a Request, the grounds for each objection must be stated with specificity. If an
     objection pertains to only a portion of a Request, a word, phrase, or clause contained
     within it, YOU must state the objection to that portion only and respond to the
     remainder of the request, using YOUR best efforts to do so.




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           7.     If, in responding to this Request for Production, YOU encounter any
     ambiguities when construing a request or definition, the response shall set forth the
     matter deemed ambiguous and the construction used in responding.
           8.     Pursuant to Federal Rule of Civil Procedure 34(b)(2)(C), an objection
     must state whether any responsive materials are being withheld on the basis of that
     objection.
           9.     Whenever in this Request YOU are asked to identify or produce a
     DOCUMENT which is deemed by YOU to be properly withheld from production
     for inspection or copying:
           A.     If YOU are withholding the DOCUMENT under claim of privilege
                  (including, but not limited to, the work product doctrine), please
                  provide a log identifying each such document by specifying:
                        (i) The type of DOCUMENT (e.g., letter, memorandum, email,
                        etc.) or some other means of accurately identifying it;
                        (ii) Its date, if any, or an estimate thereof, and so indicated as an
                        estimate if no date appears on the DOCUMENT;
                        (iii) Its author(s), if any;
                        (iv) Its addressee(s), if any, and, where not apparent, the
                        relationship between its author(s) and addressee(s);
                        (v) Each recipient and addresses of all PERSONS or entities to
                        whom the DOCUMENT, thing, or copies thereof were circulated
                        or its contents communicated, if any;
                        (vi) The general subject matter of the DOCUMENT; and
                        (vii) The nature of the claimed privilege so as to explain the basis
                        asserted for withholding the DOCUMENT or thing in sufficient
                        detail so as to enable the claim of privilege to be adjudicated, if
                        necessary.




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           B.     If YOU are withholding the DOCUMENT for any reason other than an
                  objection that it is beyond the scope of discovery, or that it is privileged,
                  identify as to each document the information requested in paragraph 9A
                  above, as well as the reason for withholding the DOCUMENT.
           10.    When a DOCUMENT contains both privileged and non-privileged
     material, the non-privileged material must be disclosed to the fullest extent possible
     with the purportedly privileged material redacted.
           11.    If a privilege is asserted with regard to part of the material contained in
     a DOCUMENT, YOU must clearly indicate the portions as to which the privilege is
     claimed.
           12.    When a DOCUMENT has been redacted or altered in any fashion,
     identify as to each DOCUMENT the reason for the redaction or alteration, the date
     of the redaction or alteration, and the PERSON performing the redaction or
     alteration. Any redaction must be clearly visible on the redacted DOCUMENT.
           13.    Any DOCUMENT or things requested that cannot be produced in full
     should be produced to the extent possible, specifying the reasons for the inability to
     produce the remainder.
           14.    If any responsive DOCUMENT was, but is no longer in your
     possession or subject to your control, or in existence, state whether it is (a) missing
     or lost; (b) has been destroyed; (c) has been transferred, voluntarily or involuntarily,
     to others; or (d) otherwise disposed of. In each instance, explain the circumstances
     surrounding such disposition thereof, and state the date or approximate date your
     possession of or control over that document ceased.
           15.    It is intended that these Requests will not solicit any material protected
     either by the attorney–client privilege or by the work product doctrine which was
     created or developed after the filing of the COMPLAINT in the above-captioned
     matter. If any Request is susceptible of a construction that calls for the production of




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      such material, that material need not be provided and no privilege log pursuant to
      Federal Rule of Civil Procedure 26(b)(5) will be required as to such material.
            16.    These Requests are continuing so as to require prompt supplemental
      responses as required under Federal Rule of Civil Procedure 26(e) up to and
      including the time of trial of the present dispute. If YOU come into possession,
      custody, or control of responsive DOCUMENTS or things after the initial
      production, YOU should supplement the production by promptly producing such
      DOCUMENTS or things.
            17.    If a Request is silent as to the time period for which information is
      sought, YOUR response should include all DOCUMENTS or things created at any
      time during the time period of January 1, 2010 to the present and all DOCUMENTS
      or things CONCERNING events that occurred, in whole or in part, at any time
      during the time period of January 1, 2010 to the present.
            18.    For every Request in which YOU produce responsive DOCUMENTS
      or things, identify by reference to their agency-specific Bates label which particular
      DOCUMENTS or things respond to each Request.


                             REQUESTS FOR PRODUCTION
            1.     All DOCUMENTS that DEFENDANTS may use to support any
      defenses or arguments in this Lawsuit.
            2.     All DOCUMENTS CONCERNING Abdirahman Kariye, including,
      but not limited to, any email, text, WhatsApp, or other message mentioning
      Abdirahman Kariye, whether sent or received using official or private means.
            3.     All DOCUMENTS CONCERNING the incidents described in
      paragraphs 55–80 of the AMENDED COMPLAINT.
            4.     All DOCUMENTS CONCERNING Mohamad Mouslli, including, but
      not limited to, any email, text, WhatsApp, or other message mentioning Mohamad
      Mouslli, whether sent or received using official or private means.




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            5.     All DOCUMENTS CONCERNING the incidents described in
      paragraphs 107–126 of the AMENDED COMPLAINT.
            6.     All DOCUMENTS CONCERNING Hameem Shah, including any
      email, text, WhatsApp, or other message mentioning Hameem Shah, whether sent
      or received using official or private means.
            7.     All DOCUMENTS CONCERNING the incidents described in
      paragraphs 146–175 of the AMENDED COMPLAINT.
            8.     All DOCUMENTS CONCERNING policies, procedures, guidance,
      briefings, musters, recommendations, and trainings—formal and informal—
      CONCERNING the questioning of PERSONS at ports of entry.
            9.     All DOCUMENTS CONCERNING policies, procedures, guidance,
      briefings, musters, recommendations, and trainings—formal and informal—
      CONCERNING (a) First Amendment protections and (b) the screening, inspection,
      detaining, or questioning of PERSONS at ports of entry.
            10.    All DOCUMENTS CONCERNING policies, procedures, guidance,
      briefings, musters, recommendations, and trainings—formal and informal—
      CONCERNING retaliation against PERSONS at ports of entry for constitutionally
      protected activity.
            11.    All DOCUMENTS, including but not limited to complaints or
      allegations made by any PERSON, CONCERNING any alleged or actual incident
      of retaliation by DEFENDANTS against any PERSON at any port of entry for their
      perceived religion, religious beliefs, religious practices, religious associations, or for
      their invocation of a constitutional right.
            12.    All DOCUMENTS CONCERNING policies, procedures, guidance,
      briefings, musters, recommendations, and trainings—formal and informal—
      CONCERNING (a) religion, religious beliefs, religious practices, or religious
      associations, and (b) the screening, inspection, detaining, or questioning of
      PERSONS at a port of entry.




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            13.    All DOCUMENTS CONCERNING policies, procedures, guidance,
      briefings, musters, recommendations, and trainings—formal and informal—
      CONCERNING the entry into TECS (or any other database, system, or platform) of
      information CONCERNING any PERSON’s religion, religious beliefs, religious
      practices, or religious associations.
            14.    All DOCUMENTS from TECS (and from any other database, system,
      or platform) that CONCERN any PERSON’s religion, religious beliefs, religious
      practices, or religious associations, where such information was entered into TECS
      or another database, system, or platform as a result of a DEFENDANT’s questioning
      of the PERSON at a port of entry.
            15.    DOCUMENTS sufficient to show the policies, procedures, and
      practices of DEFENDANTS concerning the retention, sharing, or dissemination of
      information gathered or obtained during the secondary inspection of PERSONS at
      ports of entry.
            16.    All DOCUMENTS CONCERNING complaints, disciplinary actions,
      performance reviews, and commendations CONCERNING the border officers
      involved in the ten incidents alleged in the AMENDED COMPLAINT at paragraphs
      55–80, 107–126, and 146–175.
            17.    All DOCUMENTS CONCERNING complaints, disciplinary actions,
      performance reviews, and commendations CONCERNING the officers and
      directors identified in Defendants’ First Supplemental Initial Disclosures, served on
      September 20, 2022.
            18.    All DOCUMENTS CONCERNING complaints or allegations made by
      any PERSON CONCERNING questioning at any port of entry about any
      PERSON’s religion, religious beliefs, religious practices, or religious associations.
            19.    All DOCUMENTS CONCERNING investigations of complaints or
      allegations made by any PERSON CONCERNING questioning at any port of entry
      about any PERSON’s religion, religious beliefs, religious practices, or religious




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      associations, including but not limited to all DOCUMENTS CONCERNING the
      investigations referenced in the February 26, 2019 DHS memorandum, “Religious
      Questioning at Ports of Entry – Multiple Complaints” and investigations referenced
      in   the    DHS   CRCL    Report   for    FY2020   Q1   and      Q2,   available   at
      https://www.dhs.gov/sites/default/files/publications/compliance-one-pager-
      2020.pdf.
            20.    All DOCUMENTS CONCERNING the effect that a TECS entry
      stating that a PERSON’s prior detention or questioning CONCERNED terrorism
      may have on future inspections, detention, or questioning of that PERSON.
            21.    All DOCUMENTS CONCERNING policies, procedures, guidance,
      briefings, musters, recommendations, and trainings—formal and informal—
      CONCERNING the referral of PERSONS to secondary inspection where
      DEFENDANTS deemed such PERSON’s prior detention or questioning to
      CONCERN terrorism.




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        Dated: November 15, 2022   AMERICAN CIVIL LIBERTIES UNION
                                     FOUNDATION
                                   AMERICAN CIVIL LIBERTIES UNION OF
                                     MINNESOTA
                                   ACLU FOUNDATION OF SOUTHERN
                                     CALIFORNIA
                                   COOLEY LLP


                                   By:    /s/ Ashley Gorski
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                                  PROOF OF SERVICE
          I am a citizen of the United States and a resident of the State of New York. I
    am over the age of eighteen years, and not a party to the within action. I hereby
    certify that on November 15, 2022, a copy of Plaintiffs’ First Set of Requests for
    Production was served via email to the following person:


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    Counsel for Defendants



          Executed on November 15, 2022, at New York, New York.



                                           By:        /s/ Ashley Gorski
                                                      Ashley Gorski
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